             Case 5:19-cv-00882 Document 1 Filed 07/24/19 Page 1 of 8



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

DANIEL DONNELLY and MARY FOX,                     §
                                                  §
       Plaintiffs,                                §
                                                  §          CIVIL ACTION NO. 5:19-cv-882
vs.                                               §
                                                  §
NISSAN MOTOR CO., LTD., and                       §
JORGE RODRIGUEZ,                                  §
                                                  §                      JURY
       Defendants.                                §

                                  NISSAN MOTOR CO., LTD.’S
                                     NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Pursuant to the terms and provisions of 28 U.S.C. §§ 1332, 1441, and 1446, Nissan

Motor Co., Ltd. (“NML”), in the cause styled “Daniel Donnelly and Mary Fox v. Nissan Motor Co.,

Ltd. and Jorge Rodriguez,” originally pending as Cause No. 2018-CI-22606 in the 225th Judicial

District Court of Bexar County, Texas, files this Notice of Removal of the cause to the United

States District Court for the Western District of Texas, San Antonio Division. In support of this

Notice of Removal, NML alleges and states as follows:

                                               I.
                                           BACKGROUND

1.     This product liability lawsuit arises out of a motor vehicle accident that occurred on

October 21, 2017. 1 Plaintiffs Daniel Donnelly and Mary Fox allege that their daughter, Heather

Donnelly, was driving a 2015 Nissan Sentra northbound on Highway 281 in Bexar County,

Texas [sic] 2 when, according to Plaintiffs’ Petition, Defendant Jorge Rodriguez – who was

driving a vehicle southbound on Highway 281 evading police – crossed into the northbound




1See Plfs.’ First Amended Pet. at ¶ 8, attached as Exhibit 1.
2The subject accident occurred in Comal County, Texas according to the Texas Peace Officer’s Crash
Report at 1, attached as Exhibit 2.

NISSAN MOTOR CO., LTD.’S
NOTICE OF REMOVAL                                                                            PAGE 1
              Case 5:19-cv-00882 Document 1 Filed 07/24/19 Page 2 of 8



lanes and collided with the subject Nissan Sentra. 3 Plaintiffs claim that as a result of the

accident, Heather Donnelly sustained fatal injuries. 4

2.       On November 30, 2018, Plaintiffs filed their original action in the 225th Judicial District

Court of Bexar County, Texas, naming Nissan Motor Co., Ltd. and Jorge Rodriguez as

defendants. 5 Plaintiffs asserted negligence claims against Jorge Rodriguez 6 and strict liability

claims for defective design, manufacture, and marketing against NML. 7 Jorge Rodriguez,

however, died in the subject crash on October 21, 2017. 8

3.       On July 18, 2019, counsel for NML conferred with Plaintiff’s counsel concerning the

removal of this action to federal court. Counsel for NML advised Plaintiff’s counsel that Jorge

Rodriguez was deceased making NML the only properly named defendant in this matter.

4.       On July 22, 2019, Plaintiffs filed their First Amended Petition adding Bryan Marquez and

Thomas LaFleur as Defendants. 9 In their Amended Petition, Plaintiffs claim that Bryan Marquez

and Thomas LaFleur “owned the [vehicle operated by Rodriguez at the time of the crash] or had

a superior right to control the [vehicle] and permitted Rodriguez to use the vehicle even though

they knew or should have known Rodriguez was an unlicensed, incompetent and/or reckless

driver.” 10

5.       Plaintiffs did not serve NML with a copy of their Amended Petition despite the fact that

NML had entered an appearance in the case on July 12, 2019. 11 Counsel for NML learned of

the filing of Plaintiffs’ Amended Petition on July 24, 2019 while preparing the accompanying

exhibits for this Notice of Removal.



3 Ex. 2 at 2.
4 See Ex. 1 at 14.
5 See Plaintiffs’ Original Pet. at 1 attached hereto as Exhibit 3.
6 Id. 3 at ¶¶ 46-51.
7 Id. 3 at ¶¶28-45
8 Ex. 2 at 1 (injury severity for Jorge Rodriguez reported as “K” – killed).
9 Ex. 1 at ¶¶6-7.
10 Ex. 1 at ¶¶ 78-83.
11 See NML’s Motion to Transfer Venue, Special Exceptions, and Subject Thereto, Original Answer to

Plaintiffs’ Original Petition, attached as Exhibit 4.

NISSAN MOTOR CO., LTD.’S
NOTICE OF REMOVAL                                                                           PAGE 2
               Case 5:19-cv-00882 Document 1 Filed 07/24/19 Page 3 of 8



                                               II.
                            BASIS OF REMOVAL: DIVERSITY JURISDICTION

6.      This matter is removable to this Court under 28 U.S.C. § 1441 because the Court has

original jurisdiction under 28 U.S.C. § 1332(a)(3) based on diversity of citizenship and an

amount-in-controversy exceeding $75,000, exclusive of interest and costs.

A.      The amount-in-controversy requirement is satisfied.

7.      Pursuant to 28 U.S.C. § 1446(c)(2), if removal is sought based on diversity jurisdiction

under 28 U.S.C. § 1332, “the sum demanded in good faith in the initial pleading shall be

deemed to be the amount in controversy.” In their Petition, Plaintiffs claim they “are seeking

monetary relief of over $1,000,000.00”. 12 The amount in controversy thus far exceeds the

$75,000 jurisdictional minimum of this Court.

B.      Complete diversity exists as to all parties.

8.      There is complete diversity between Plaintiffs and all Defendants, or alternative, all

properly joined Defendants in this action.

9.      Plaintiff Daniel Donnelly, at the time of the initial filing of this action and at the current

time of the removal of this action, is a citizen and resident of the State of Illinois and domiciled in

the State of Illinois. 13

10.     Plaintiff Mary Fox at the time of the initial filing of this action and at the current time of

the removal of this action is a citizen and resident of the State of Illinois and domiciled in the

State of Wisconsin. 14

11.     NML is a company existing under the laws of Japan with its principal place of business

and corporate headquarters in Japan. As such, NML is a citizen of a foreign state, as defined in

28 U.S.C. § 1603 for purposes of determining diversity. As such, NML is not and has not been

12 Ex. 1 at ¶ 7.
13 See Voter’s Certificate of Registration for Daniel Donnelly, attached as Exhibit 5; see also Fairley v.
Ford, CV H-17-1639, 2017 WL 3507015, at *2 (S.D. Tex. Aug. 16, 2017) (courts may consider the place
where the litigant exercises civil and political rights, such as voting, to show domicile).
14 My Voter Information, MY VOTE W ISCONSIN, https://myvote.wi.gov/en-US/MyVoterInformation (last

visited July 23, 2019), attached as Exhibit 6.

NISSAN MOTOR CO., LTD.’S
NOTICE OF REMOVAL                                                                                 PAGE 3
              Case 5:19-cv-00882 Document 1 Filed 07/24/19 Page 4 of 8



a citizen of the State of Texas.

12.    According to Plaintiffs’ Original Petition, Defendant Jorge Rodriguez, “is an individual

and process of service may be had upon this Defendant by serving him at his residence, 6618

S. Zarzamora, San Antonio, Texas 78211 or wherever he may be found.” 15                This statement,

however, is inaccurate. Jorge Rodriguez died in the subject accident. As a matter of law, his

death removed him as a party because “a suit cannot be maintained against a dead man.” 16

Texas federal courts also have recently analyzed this issue and concluded that deceased

individuals are not proper parties because they are deceased. 17

13.    Defendant Bryan Marquez, at the time of the initial filing of this action and at the current

time of the removal of this action, is a citizen and resident of the State of Texas and domiciled in

the State of Texas. 18

14.    Defendant Thomas LaFleur, at the time of the initial filing of this action and at the current

time of the removal of this action, is a citizen and resident of the State of Texas and domiciled in

the State of Texas. 19

15.    As show above, complete diversity between Plaintiffs and all Defendants, or

alternatively, the only remaining properly named defendant – NML, see discussion below. 20

C.      Improper Joinder

16.    In the alternative, Jorge Rodriguez’s, Bryan Marquez’s, and Thomas LaFleur’s

citizenship must be disregarded for the purpose of analyzing whether diversity jurisdiction exists

in this lawsuit because their joinder would be improper. 21


15 Ex. 1 at ¶ 5 (emphasis added).
16 Bevers v. Brodbeck, 07-04-0475-CV, 2006 WL 2795347, at *1 n. 3 (Tex. App. – Amarillo Sept. 29,
2006, pet. denied) (quoting First Nat. Bank in Dallas v. Hawn, 392 S.W.2d 377, 379 (Tex. Civ. App. –
Dallas 1965, writ ref’d n.r.e.).
17 See e.g., Parker v. Bill Melton Trucking, Inc, 3:15-CV-2528-G, 2015 WL 5923996, at *2 (N.D. Tex. Oct.

9, 2015) (denying plaintiff’s motion to remand).
18 Ex. 1 at ¶ 6.
19 Ex. 1 at ¶ 7.
20 28 U.S.C. § 1332(a)(1).
21 See Jernigan v. Ashland Oil Inc., 989 F.2d 812, 817 (5th Cir. 1993) (holding that citizenship of

improperly joined party is to be disregarded for purposes of determining jurisdiction); Burden v. Gen

NISSAN MOTOR CO., LTD.’S
NOTICE OF REMOVAL                                                                               PAGE 4
              Case 5:19-cv-00882 Document 1 Filed 07/24/19 Page 5 of 8



17.     A party is improperly joined when there is no reasonable basis for predicting Plaintiffs

will be able to establish liability against the party on the pleaded claims in state court. 22 To

establish improper joinder, the removing party must demonstrate either: (1) actual fraud in the

pleading of jurisdictional facts, or (2) inability of the plaintiff to establish a cause of action against

the non-diverse party in state court. 23

18.     As to Defendant Jorge Rodriguez, for the reasons articulated in Paragraph 12, Plaintiffs

are unable to establish a cause of action against Jorge Rodriguez because Plaintiffs’ suit cannot

be maintained against a deceased individual (in his individual capacity as is the case here).

19.     As to Defendants Bryan Marquez and Thomas LaFleur, there is no reasonable basis for

the district court to predict that the Plaintiffs might be able to recover against these in-state

defendants.     In the “Facts” section of Plaintiffs’ Amended Petition, Plaintiffs assert that

Defendants Marquez and LaFleur “upon information and belief” owned or had superior right of

control over the vehicle driven by Defendant Rodriguez, 24 and that “upon information and

belief”, “knew or should have known that Jorge Rodriguez was an unlicensed, incompetent, or

reckless driver, but nevertheless Bryan Marquez and/or Thomas LaFleur permitted Jorge

Rodriguez to use the Mitsubishi vehicle.” 25

20.     Based on these alleged statements, Plaintiffs have presumably asserted negligent

entrustment claims against Marquez and LaFleur as Plaintiffs merely repeat these general

statements in their “Causes of Action” section. 26 Under Texas law, proof of negligent

entrustment requires: (1) entrustment of a vehicle by the owner; (2) to an unlicensed,

incompetent, or reckless driver; (3) that the owner knew or should have known to be

unlicensed, incompetent, or reckless; (4) the driver's negligence on the occasion in question;


Dynamics Corp., 60 F.3d 213, 218 (5th Cir. 1995).
22 Smallwood v. Ill. Cent. R.R. Co., 385 F.3d 568, 573 (5th Cir. 2004) (en banc) (citing Travis v. Irby, 326

F.3d 644, 646–47 (5th Cir. 2003)).
23 Id.
24 Ex. 1 at ¶¶ 15-16.
25 Id. at ¶17.
26 Id. at ¶¶ 78-83.



NISSAN MOTOR CO., LTD.’S
NOTICE OF REMOVAL                                                                                   PAGE 5
             Case 5:19-cv-00882 Document 1 Filed 07/24/19 Page 6 of 8



(5) proximately caused the accident. 27 Notably, foreseeability requires some indication that the

defendant knew or should have known of the driver’s incompetence at the time of entrustment. 28

Here, Plaintiffs make no attempt to address this critical element of their cause of action, nor do

they point to any factual allegation that would support this element. Nowhere do Plaintiffs allege

any negligent action on the part of Rodriguez prior to the vehicle’s entrustment that would have

led to foreseeable misconduct on Rodriguez’s part. As such, Plaintiffs’ Petition fails to state a

claim for negligent entrustment leaving no reasonable basis for the district court to predict that

the Plaintiffs might be able to recover against Defendants Marquez and LaFleur. Plaintiffs’

Petition is subject to the federal pleadings requirements, 29 and the federal rules explicitly

provide that they “apply to a civil action after it is removed from a state court,” despite the fact

that “repleading is unnecessary” after removal. The implication of these provisions “is that a

complaint—even if filed in state court and based on state law claims—is automatically subject to

federal pleading requirements after removal.” 30

21.    Plaintiffs’ joinder of Defendants Marquez and LaFleur was improper and their citizenship

should thus be disregarded for purposes of determining whether diversity of citizenships exists

between the parties.

22.    Removal is thus proper because there is complete diversity between Plaintiffs and the

only remaining properly named Defendant, NML.

                                               III.
                                             CONSENT

23.    There are no properly joined and served co-defendants in this action and there is no

need to obtain the consent of improperly joined defendants. 31 Thus, because Jorge Rodriguez



27 Rosell v. Central W. Motor Stages, Inc. 89 S.W.3d 643, 655 (Tex. App. – Dallas 2002, pet. denied).
28 See Goodyear Tire & Rubber Co. v. Mayes, 236 S.W.3d 754, 758 (Tex. 2007).
29 See Int'l Energy Ventures Mgmt., L.L.C. v. United Energy Group, Ltd., 818 F.3d 193, 203 (5th Cir.

2016) (opinion expressly required use of the federal, not a state, pleading standard when testing for
improper joinder).
30 King v. Jarrett, 2016 WL 11581949, at *5 (W.D. Tex. June 17, 2016) (internal citations omitted).
31 See Ashland Oil Inc., 989 F.2d at 815 (requiring consent of improperly joined parties would be



NISSAN MOTOR CO., LTD.’S
NOTICE OF REMOVAL                                                                            PAGE 6
                Case 5:19-cv-00882 Document 1 Filed 07/24/19 Page 7 of 8



is deceased and not a party to the case or, alternatively, is improperly joined, his consent in this

removal is not required.

                                                IV.
                                          REMOVAL IS TIMELY

24.       NML timely removes this case under 28 U.S.C. § 1446(b) because this Notice of

Removal comes within 30 days following service of Plaintiffs’ Original Petition on NML, the last

remaining non-diverse, properly joined party. 32       Additionally, this Notice of Removal comes

within one year after the commencement of Plaintiff’s suit. 33 NML’s Notice of Removal is thus

timely.

                                                 V.
                                       NOTICE TO STATE COURT

25.       A copy of this Notice of Removal is being filed with the Clerk of the 225th Judicial District

Court of Bexar County, Texas, and is being served upon all parties, in accordance with 28

U.S.C. § 1446(d).

                                                 VI.
                                         STATE COURT FILINGS

26.       In accordance with 28 U.S.C. Section 1446(a), copies of all executed processes,

pleadings and orders, as well as the docket sheet, and an index of all pleadings relating to the

Action and previously filed with the 225th Judicial District Court of Bexar County, Texas are

attached under Exhibit 8 for the Court’s reference.




nonsensical).
32 28 U.S.C. § 1446(b)(2)(B); see Service of Process Transmittal for NML, attached as Exhibit 7.
33 See 28 U.S.C. § 1446(c)(1).



NISSAN MOTOR CO., LTD.’S
NOTICE OF REMOVAL                                                                                  PAGE 7
             Case 5:19-cv-00882 Document 1 Filed 07/24/19 Page 8 of 8




                                             Respectfully submitted,



                                             /s/ Yesenia E. Cárdenas-Colenso
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                                             ATTORNEYS FOR DEFENDANT,
                                             NISSAN MOTOR CO., LTD.

                                  CERTIFICATE OF SERVICE

       On July 24, 2019, I electronically submitted the foregoing document with the clerk of
court for the U.S. District Court, Western District of Texas, using the electronic case filing
system of the court. I hereby certify that I have served all counsel of record electronically or by
another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                             /s/ Yesenia E. Cárdenas-Colenso




NISSAN MOTOR CO., LTD.’S
NOTICE OF REMOVAL                                                                          PAGE 8
